                          Brad Kane, Esq.
                          Kane Law Firm
                          1154 S Crescent Hts. Blvd.
                          Los Angeles, CA 90035
                          Tel: (323) 937-3291 / Fax: (323) 571-3579
                          bkane@kanelaw.la
                                 Attorneys for Plaintiff

                          Matthew Singer
                          Jessica M. Brown
                          HOLLAND & KNIGHT LLP
                          420 L Street, Suite 400
                          Anchorage, Alaska 99501
                          Telephone: (907) 263-6300
                          Facsimile: (907) 263-6345
                          matt.singer@hklaw.com
                          jessica.brown@hklaw.com
                                 Attorneys for All Defendants

                                                IN THE UNITED STATES DISTRICT COURT

                                                       FOR THE DISTRICT OF ALASKA

                          ANNE REVERMANN,                          )
                                                                   )
                                         Plaintiff,                )
                                                                   )
                                  v.                               )
                                                                   )
                          LITHIA MOTORS, INC., JACOB               )
                          BALDRIDGE and HENRY CHING,               )
                                                                   )
                                         Defendants.               )      Case No. 4:18-cv-00035-TMB
                                                                   )

                                                         JOINT STATUS REPORT

                                 Pursuant to the Court’s August 12, 2019 Order, the Parties submit this Joint Status

  HOLLAND &               Report. The arbitration of Ms. Revermann’s claims is proceeding. The parties anticipate
  KNIGHT LLP
420 L Street, Suite 400
Anchorage, AK 99501       completion of discovery depositions by November 5, 2019 and have recently re-set the
Phone: (907) 263-6300
 Fax: (907) 263-6345



                          #71157010_v1

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                          arbitration hearing to January 27, 2020. Retired judge Sen Tan is serving as the arbitrator.

                          The parties shall submit another Joint Status Report on or before Tuesday, March 31, 2020.

                                 Respectfully submitted this 24th day of October, 2019.

                                                             KANE LAW FIRM
                                                             Attorneys for Plaintiff

                                                             By:    /s/ Brad Kane
                                                                    Brad Kane, Esq. (ABA No. 9111089)
                                                                    bkane@kanelaw.la
                                                                    1154 S. Crescent Hts. Blvd.
                                                                    Los Angeles, CA 90035
                                                                    Telephone: (323) 697-9840
                                                                    Facsimile: (323) 571-3579


                                                             HOLLAND & KNIGHT LLP
                                                             Attorneys for All Defendants

                                                             By:    /s/ Matthew Singer
                                                                    Matthew Singer (ABA No. 9911072)
                                                                    matt.singer@hklaw.com
                                                                    420 L Street, Suite 400
                                                                    Anchorage, AK 99501
                                                                    Telephone: (907) 263-6300
                                                                    Facsimile: (907) 263-6345




  HOLLAND &
  KNIGHT LLP
420 L Street, Suite 400
Anchorage, AK 99501
Phone: (907) 263-6300
 Fax: (907) 263-6345
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                                                          CERTIFICATE OF SERVICE

                                 I certify that on October 24, 2019, a copy of the foregoing Joint Status Report was served

                          via the Court’s CM/ECF electronic service on the following counsel of record:

                                                 Brad Kane, Esq.
                                                 Kane Law Firm
                                                 1154 S. Crescent Hts. Blvd.
                                                 Los Angeles, CA 90035
                                                 bkane@kanelaw.la

                                                                      /s/ Matthew Singer




  HOLLAND &
  KNIGHT LLP
420 L Street, Suite 400
Anchorage, AK 99501
Phone: (907) 263-6300
 Fax: (907) 263-6345
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